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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

CONRAD SMITH,                                               CASE NO.: 1:21-CV-02265-APM
et al.,

       Plaintiffs,
v.

DONALD J. TRUMP,
et al.,

      Defendants.
_____________________________/

              DEFENDANT BRANDON J. STRAKA’S NOTICE OF FILING
                   PURSUANT TO LOCAL CIVIL RULE 5.4(e)(1)

       Defendant Brandon J. Straka files this notice pursuant to Local Civil Rule 5.4(e)(1).

       On April 19, 2023, Mr. Straka filed a reply brief to his special motion to dismiss pursuant

to 28 U.S.C. § 1367. ECF No. 215. Exhibit 2 to the reply brief is two video files. ECF No. 215-2.

Because those videos are not in a format compatible with electronic filing, they were submitted to

the Court on a flash drive.

       Mr. Straka gives notice that the custodian for purposes of Local Civil Rule 5.4(e)(1) is:

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           1629 K St. N.W. Ste. 300
           Washington, DC 20006
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           steve@barrklein.com



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                                        Respectfully submitted,

                                        Brandon J. Straka

                                        By Counsel

/s/ Stephen Klein
Stephen R. Klein                    Julianne E. Murray*
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 20th day of April 2023, I filed the foregoing with the Clerk of

Court using the CM/ECF system, which will send a notification of electronic filing (NEF) to

Plaintiffs’ counsel and counsel for most Defendants.

       I further certify that, pursuant to Federal Rule of Civil Procedure 5(b)(2)(C), counsel will

endeavor to serve all other named Defendants a copy of this filing by first class mail.


                                                       /s/ Stephen Klein
                                                       Stephen R. Klein

                                                       Counsel to Brandon J. Straka
